                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

THE STATE OF GEORGIA,                 )
                                      )
                   Plaintiff,         )     Civil Action No. 1:23-cv-03621-SCJ
                                      )
            v.                        )
                                      )
MARK RANDALL MEADOWS,                 )
                                      )
                   Defendant.         )
                                      )


      PLAINTIFF’S CERTIFICATION OF SERVICE OF SUBPOENA

      In accordance with the requirements of Fed. R. Civ. P. 45 and LR 5.4,

NDGa., counsel for Plaintiff the State of Georgia hereby notifies Defendant Mark

Randall Meadows that a subpoena was served by hand delivery upon Kurt Robert

Hilbert on Tuesday, August 22, 2023. A true and correct copy of the subpoena is

attached hereto.

      Respectfully submitted this the 22nd day of August 2023.

                                      FANI T. WILLIS
                                      District Attorney
                                      Atlanta Judicial Circuit

                                      /s/ John W. “Will” Wooten
                                      JOHN W. “WILL” WOOTEN
                                      GA Bar Number 410684
                                      Deputy District Attorney
Fulton County District Attorney’s Office
136 Pryor Street SW
3rd Floor
Atlanta, GA 30303
(404) 612-6560
will.wooten@fultoncountyga.gov




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                      CERTIFICATE OF COMPLIANCE

      I certify that the document to which this certificate is attached has been

prepared with one of the font and point selections approved by the Court in LR

5.1B for documents prepared by computer.

      This the 22nd day of August 2023.

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       Deputy District Attorney




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                         CERTIFICATE OF SERVICE

      I served this document today by filing it using the Court’s CM/ECF system,

which automatically notifies the parties and counsel of record.

      This the 22nd day of August 2023.

                                       /s/ John W. “Will” Wooten
                                       JOHN W. “WILL” WOOTEN
                                       Deputy District Attorney




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